          Case 1:21-cr-00371-RC Document 44 Filed 03/23/22 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :   CRIMINAL NO. 1:21-cr-00371 (RC)
                                                  :
              v.                                  :
                                                  :   VIOLATIONS:
 JONAH WESTBURY,                                  :   18 U.S.C. § 1752(a)(1)
                                                  :   (Entering and Remaining in a Restricted
                    Defendant.                    :   Building or Grounds)
                                                  :   18 U.S.C. § 1752(a)(2)
                                                  :   (Disorderly and Disruptive Conduct in a
                                                  :   Restricted Building or Grounds)
                                                  :   40 U.S.C. § 5104(e)(2)(D)
                                                  :   (Disorderly Conduct in
                                                  :   a Capitol Building)
                                                  :   40 U.S.C. § 5104(e)(2)(G)
                                                  :   (Parading, Demonstrating, or Picketing in
                                                  :   a Capitol Building)
                                                  :

                                    INFORMATION

       The United States Attorney charges that:

                                         COUNT ONE

       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY did

knowingly, and with intent to impede and disrupt the orderly conduct of Government business and

official functions, engage in disorderly and disruptive conduct in and within such proximity to, a
          Case 1:21-cr-00371-RC Document 44 Filed 03/23/22 Page 2 of 3




restricted building and grounds, that is, any posted, cordoned-off, and otherwise restricted area

within the United States Capitol and its grounds, where the Vice President was and would be

temporarily visiting, when and so that such conduct did in fact impede and disrupt the orderly

conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY willfully

and knowingly engaged in disorderly and disruptive conduct within the United States Capitol

Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and disturb the

orderly conduct of a session of Congress and either House of Congress, and the orderly conduct in

that building of a hearing before or any deliberation of, a committee of Congress or either House

of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




                                               2
          Case 1:21-cr-00371-RC Document 44 Filed 03/23/22 Page 3 of 3




                                       COUNT FOUR
       On or about January 6, 2021, in the District of Columbia, JONAH WESTBURY willfully

and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))


Dated: March 23, 2022
                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  United States Attorney
                                                  D.C. Bar No. 481052

                                           By:    /s/ Jordan A. Konig
                                                  JORDAN A. KONIG
                                                  Texas Bar No. 24055791
                                                  Trial Attorney, U.S. Department of Justice
                                                  Detailed to the U.S. Attorney’s Office
                                                  For the District of Columbia
                                                  P.O. Box 55
                                                  Washington, D.C. 20044
                                                  202-305-7917 (v)
                                                  202-514-5238 (f)
                                                  Jordan.A.Konig@usdoj.gov




                                              3
